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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW M EXICO



 R OSITA A N TO N IO ,

        Plaintiff,
                                                   No. 05cv1118 PK/LFG
 vs.

 LO VELA CE HEA LTH SYSTEM S,
 IN C.,

        Defendant.



               FIN D IN G S O F FA CT AND CONCLUSIONS OF LAW


       THIS M ATTER came on for trial before the Hon. Paul J. Kelly, Jr., sitting by

designation, without a jury on April 10 and 11, 2007.     The Plaintiff appeared in

person and was represented by her attorneys, Donald G. Gilpin and M .J. Keefe,

Gilpin and Keefe, P.C.      The D efendant (sometimes referred to as “Lovelace”)

appeared by its duly authorized representative, Jolie M cKeon, and its attorneys,

Amelia M . W illis, Epstein, Becker & Green, P.C., and R. Nelson Franse, Rodey,

Dickason, Sloan, A kin & Robb, P.A. The court, having heard the evidence and

argument, review ed the pleadings and exhibits, and being otherwise fully advised in

the premises, makes the following findings of fact and conclusions of law pursuant

to Fed. R. Civ. P. 52(a).
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                           Findings of Fact

1.    Plaintiff is Native American, a member of the Navajo Tribe, and was

      over the age of 40 at all relevant times.

2.    Plaintiff was employed as a nurse technician at Lovelace Sandia H ealth

      Systems, Inc. or its predecessor beginning July 2, 1979, and continuing

      until her termination on M ay 6, 2004. She was considered a very good

      nurse technician by all of her supervisors.

3.    Plaintiff claims employment discrimination based upon age and race, as

      well as retaliation. Doc. 55 at 3, § III(A) (amended Pretrial Order).

4.    At all relevant times, Lovelace had in force and effect an attendance

      policy that provided that, after 9 occurrences (periods of unscheduled

      absence) in any 12-month period, an employee would be terminated.

5.    The attendance policy was contained in the employee handbook, was

      posted in the employee lounge or breakroom and w as available in the

      office of the charge nurse.        The policy was also available on the

      company intranet and was given to an employee when the employee was

      placed on corrective action.

6.    Plaintiff denied having received an employee handbook but conceded

      she had signed an acknowledgment of its receipt.

7.    The attendance policy had not been uniformly followed prior to the year

      2003, when Ardent acquired Lovelace. Shortly after the acquisition, the

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      various floor managers held staff meetings to explain the attendance

      policy and advise staff that it would now be enforced. Each employee

      was given a copy of the policy at that time.

8.    Plaintiff was aware of the attendance policy but did not know how

      many of her absences were excused.

9.    Plaintiff was under the mistaken belief that, if she called in to the

      charge nurse, any unscheduled absence would be excused.

10.   The attendance policy provided for a system of progressive discipline.

      Plaintiff was aware that 7 unexcused absences would result in a warning

      (Step I Corrective Action), which she admitted receiving. Plaintiff had

      at least 7 unexcused absences when the process of progressive

      discipline started.

11.   Plaintiff also was aware that after 8 unexcused absences she would

      receive a final warning (Step II Corrective A ction), which she also

      admitted receiving. Plaintiff also was aware that after 9 unexcused

      absences she could be terminated (Step III Corrective A ction).

12.   On February 26, 2004, Plaintiff had an unexcused absence. O n M arch

      1, 2004, Plaintiff received her final warning based on that absence and

      knew that if she incurred another unexcused absence she would be

      terminated.

13.   Although available to her, Plaintiff did not seek unpaid Family and

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      M edical Leave when her mother w as injured in an auto accident in

      February 2004. Plaintiff subsequently was approved for Family and

      M edical leave but did not utilize it.

14.   Plaintiff m issed work on M ay 1, 2004, and upon her return to work on

      M ay 6, 2004, was told she was terminated. Although she had missed

      work due to illness, Plaintiff had not obtained the approval of a

      manager for an excused absence.

15.   Plaintiff claims that, on two separate occasions over a period of several

      months, she overheard a manager (Connie Stephens) refer to her as

      “that Indian” or “that Navajo” when instructing another employee

      whom to go to for assistance.

16.   Plaintiff was offended by these references, but could not recall when

      they occurred.

17.   Plaintiff also was offended by a comment which she attributed to her

      coworkers that “there were too many chiefs and not enough Indians.”

18.   Plaintiff could not identify coworkers who made such comm ents or

      when they occurred.

19.   Plaintiff claims that another manager (Julie K ennelly) said, “I don’t

      know why you’re still here, Rosie. Y ou should have been fired a long

      time ago,” and that this manager told her that an absence “was uncalled

      for.” Plaintiff also testified that she w as asked when she was going to

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      retire by coworkers and a manager and that she was told she was “over

      the hill,” and the like.

20.   Plaintiff could not identify coworkers who made such comments or

      when they occurred. The managers deny making or overhearing such

      comments.

21.   Plaintiff never complained to management about any of the above

      comments, although Lovelace had in place policies that prohibit

      discrimination.

22.   These alleged comments w ere isolated and did not result in a hostile

      work environment, alone or in combination with one another.

23.   No persuasive evidence was introduced to suggest that race, age or

      retaliation had anything to do with Plaintiff’s termination. Nor does

      any persuasive evidence suggest that Plaintiff w as treated less

      favorably, for example, regarding patient load, than other similarly-

      situated employees.        Plaintiff was not terminated or discriminated

      against due to her Native American ancestry, age, or in retaliation for

      any complaints about discrimination.       Given her testimony that she

      never complained to managem ent about the alleged discriminatory

      comments, Plaintiff has come forward with no evidence that retaliation

      motivated her termination.

24.   Lovelace enforced its attendance policy in an equal fashion without

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      regard to the age or ethnicity of the employee, and in a non-retaliatory

      manner. The policy also was applied regardless of the quality of an

      employee’s work.

25.   The Lovelace manager (Julie Kennelly) w ho actually terminated

      Plaintiff immediately hired a person over 40 years of age and another

      individual who was a Native American.

26.   Although Plaintiff intended to retire in July 2004, Lovelace had no

      retirement plan, and she would not have been entitled to any other

      benefit. She w ould not have been entitled to continuing healthcare

      benefits because she would have been under 55 years of age.

27.   M any other employees were placed on corrective action for having

      excessive unscheduled absences without regard to age or ethnicity.

28.   Plaintiff was terminated for excessive unexcused absences and said

      termination had nothing to do with age, ethnicity or retaliation.



                         Conclusions of Law

1.    The court has jurisdiction over the parties and subject matter. Venue

      is proper in the District of New M exico.

2.    Defendant had ample justification for terminating the Plaintiff due to

      excessive absences in violation of its stated policy.      Plaintiff was

      terminated for a legitimate, non-discriminatory and non-retaliatory

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      reason.    The reasons given by Defendant for its actions were not

      pretextual.

3.    Although Defendant’s policy of not excusing unscheduled illness may

      appear harsh and inconsistent with patient and employee welfare, the

      policy w as applied even-handedly, and was not a pretext for

      discrimination based on protected status. See EEOC v. Flasher Co., 986

      F.2d 1312, 1320 (10th Cir. 1992).          M oreover, the harshness of the

      policy was tempered somewhat by the fact that six unscheduled

      absences could occur prior to Step I corrective action and by the need

      to ensure employee attendance for patient care. Regardless, it is not for

      the court to second-guess the wisdom of Defendant’s evenly applied

      personnel policies. See Argo v. Blue Cross & Blue Shield of Kan., Inc.,

      452 F.3d 1193, 1203 (10th Cir. 2006) (holding that the court is not “a

      super personnel department that second guesses employers’ business

      judgments”) (internal quotation marks omitted).

4.    Plaintiff was an “employee at will” and has not shown that she was

      terminated or suffered any other adverse action based on any protected

      status.   Nor has she show n that discrim ination or retaliation was a

      motivating factor in any employment matter of which she complains.

5.    Plaintiff is not entitled to any relief.

6.    For these reasons, Plaintiff should take nothing on her complaint, the

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      court should dismiss the actions on its merits, and the court should

      award costs to Defendant.

DATED this 24th day of April 2007, at Santa Fe, New M exico.




                              United States Circuit Judge
                              Sitting by Designation




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